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Case 5:11-cr-00791-DLJ Document 1

Filed 10/26/11 Page 1 of 3

MELINDA HAAG (CABN 132612)
United States Attorney

 

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

CRil

  

 

UNITED STATES OF AMERICA,
Plaintiff, ) VIOLATION; 21 U.S.C. §§ 331(d) and
) 333(a)(2)--Introduction and Delivery of
v. ) Unapproved New Drugs Into Interstate
) Commerce With The Intent To Defranid: And
ANABOLIC RESOURCES, ) Mislead |
d/b/a ANABOLIC XTREME, }
} SAN JOSE VENUE
Defendant. )
)
INFORMATION

The United States Attorney charges:

COUNT ONE: (21 U.S.C. §§ 331(d) and 333(a)(2) — Introduction/Delivery for Introduction Of

Unapproved Drugs With Intent to Defraud and Mislead.
Beginning in approximately April of 2005, and continuing through January of 2006, in
Santa Clara County, in the Northern District of California, and elsewhere, the defendant
ANABOLIC RESOURCES,
d/b/a ANABOLIC XTREME,
i |
if

 

 

[INFORMATION]

 

  

 
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Case 5:11-cr-00791-DLJ Document 1 Filed 10/26/11 Page 2 of 3

with the intent to defraud and mislead, did introduce, and deliver for introduction, into interstate

commerce new drugs, as defined at Title 21, United States Code, Section 321(p) , which had not

been approved by the Food and Drug Administration as required by Title 21, United States Code,
Section 355, that is, “Anabolic Resources Superdrol.”

In violation of Title 21, United States Code, Sections 331(d) and 333(a)}(2).

DATED: 4¢//4/ 1) MELINDA HAAG
United States Attorney

a “ Le. Ck / ne
MATTHEW A. PARRELLA
Chief, CHIP Unit

(Approved as to form: fy ff? )

MATTHEW A. PARRELLA
Assistant United States Attorney

 

 

[INFORMATION] 2

 
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13 Years Custody; $10,000 fine; 1 year supervised release;

AQ 257 (Rev. 6/78}

BY: [_] COMPLAINT [Y¥] INFORMATION [(] INDICTMENT

OFFENSE CHARGED —-

21 USC 331(d) & 333(a)(2} - Introduction and
Delivery of Unapproved New Drugs Into
Interstate Commerce With The Intent To
Defraud And Mislead

[_} Petty

CJ Minor

Misde-
meanor

Felony
PENALTY:

special assessment $100.

 

atte any

 

 

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a ‘proceasll we Ue
Name of Complaintant Agency, or P; itle, if any)

FDA

— Name of District Court, andi Haancad
[_] suPeRseDIne

   

a

 

 

person is awaiting trial in another Federal or State
Court, give name of court

Cl

 

this person/proceeding is transferred fram another i
|] district per (circle one) FRCrP 20, 21 or 40. Show
District

 

this is a reprosecution of
charges previously dismissed

Cy

 

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which were dismissed on SHOW

motion of: DOCKET NO.
[]] us. Atty [[] Defense

this prosecution relates to a

pending case involving this same

defendant MAGISTRATE

prior proceedings or appearance{s) CASE NO.

before U.S. Magistrate regarding
this defendant were recorded under

 

Name and Office of Person

Furnishing Information on
THIS FORM MELINDA HAAG

7} us. Atty [5] Other u. S, Agency

 

Name of Asst. U.S, Att'y

(if assigned) MATTHEW A. PARRELLA —

 

PROCESS:

[] summons [¥} NO PROCESS*
lf Summons, complete following:
[| Arraignment ["]. initial Appearance
Defendant Address:

Case 5:11-cr-00791-DLJ Document 1 Filed 10/26/11 Page 3 of 3
DEFENDANT INFORMA..~N RELATIVE TO A CRIMINAL AC JN -INU.S. DISTRICT COURT

 

istrate Location

  
 

NORTHERN 0 DISTT
|

NM

(— DEFENDANT - U.S.

 

 

wy ty
|
| Panasonic RESOURCES db SNABOLIC. XTREME

DISTRICT COURT NUMBER’.

CLES

  
  

——— DEFENDANT -—————_-—--

IS NOT iN CUSTODY

Has not been arrested, pending outcome HOG
1} [} If not detained give date any prior summons,
was served on above charges

2) [| Isa Fugitive

) CJ Is on Bail or Release from (show District}

 

 

IS IN CUSTODY
4) C] On this charge —

5) [| On another conviction
AWwaling trial On OMner
6) LJ :

} [| Fedi [7} State
charac

If answer to (6) is "Yes", show name of institution

 

 

Has detainer C] Yes } hive date
9 .
been filed? CJ No Bled
DATE OF Month/Day/Year
ARREST
Or... if Arresting Agency & Warrant were not
Month/Day/Year
DATE TRANSFERRED

TO U.S. CUSTODY

 

 

 

[| WARRANT _ Bail Amount:

“Where defendant previously apprehended on complaint, no new summons
or warrant needed, since Magistrate has schaduled arraignment

 

Comments:

 

[J This report amends AO 257 previously submitted

 

ADDITIONAL INFORMATION OR COMMENTS — - -—

_ Date/Time: November 10, 2011 @ 9:30am

 

Before Judge: Judge Howard R. Lloyd

 

 

 
